Case 9:24-cr-80038-AMC Document 28 Entered on FLSD Docket 07/28/2024 Page 1 of 5




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 24-CR-80038-CANNON

   UNITED STATES OF AMERICA

          vs.

   ROBERT CLARK

                          Defendant
                                              /

                       GOVERNMENT’S SUPPLEMENTAL RESPONSE TO
                    DEFENDANT’S MOTION FOR A DOWNWARD VARIANCE

          The United States respectfully opposes Defendant Robert Clark’s motion for a

   downward variance and provides this supplemental response to the Government’s response filed

   on June 28, 2024.

         In imposing a sentence, this Court must “acknowledge that it considered the § 3553

  factors.” United States v. Amedeo 487 F.3d 823, 833 (11th Cir. 2007). “Of course, a district court

  is not required to be persuaded by every argument parties make, and it may, in its discretion,

  dismiss arguments that it does not find compelling without a detailed explanation.” Concepcion v.

  United States, 597 U.S. 481, 501 (2022).

         Under § 3553(a), “[t]he Court shall impose a sentence sufficient, but not greater than

  necessary, to comply with the purposes” of sentencing. Those purposes are “(A) to reflect the

  seriousness of the offense, to promote respect for the law, and to provide just punishment for the

  offense; (B) to afford adequate deterrence to criminal conduct; (C) to protect the public from

  further crimes of the defendant; and (D) to provide the defendant with needed educational or

  vocational training, medical care, or other correctional treatment in the most effective manner.” 18

  U.S.C. § 3553(a)(2). In determining that sentence, this Court must consider “the nature and

                                                   1
Case 9:24-cr-80038-AMC Document 28 Entered on FLSD Docket 07/28/2024 Page 2 of 5




  circumstances of the offense and the history and characteristics of the defendant,” 18 U.S.C. §

  3553(a)(1), “the kinds of sentences available,” § 3553(a)(3), the Guidelines and Guideline range,

  § 3553(a)(4), the Guidelines’ policy statements, § 3553(a)(5), “the need to avoid unwarranted

  sentence disparities among defendants with similar records who have been found guilty of similar

  conduct,” § 3553(a)(6), and “the need to provide restitution to any victims of the offense,” §

  3553(a)(7). Here, a sentence within the adjusted Guideline range is supported by the § 3553(a)

  factors for several reasons.

         A.      The Nature and Circumstances of the Offense Support a Sentence of
                 Imprisonment Within the Adjusted Guidelines Range

         The Defendant’s offense is a very serious one: he utilized illegal marketer payments to

  receive approximately $15 million from Medicare. Although the Defendant was not the leader of

  the conspiracy, he was an essential member as the named owner of Clear Choice Diagnostics, Inc.

  (“Clear Choice”) and the signatory on the Clear Choice bank accounts. The Defendant’s conspiracy

  perfectly illustrates why Congress criminalized the payment of health care kickbacks: providing

  huge financial rewards to steer health care business often creates incentives to generate referrals

  for services that drain health insurance dollars.

         The Guidelines here take account of the general nature of the offense as involving

  kickbacks in the base offense level. They further take account of the specific circumstances of the

  offense by increasing the offense level based on the value of the benefit conferred as a result of the

  kickbacks — that is, the amount Medicare paid on account of the tests the Defendant generated.

  That increase properly reflects the harm the Defendant caused. In sum, the Guidelines calculation

  reflects “the seriousness of the offense.” 18 U.S.C. § 3553(a)(2)(A).




                                                      2
Case 9:24-cr-80038-AMC Document 28 Entered on FLSD Docket 07/28/2024 Page 3 of 5




         B.      The Defendant’s History and Characteristics Do Not Offer Mitigation That
                 Would Support a Downward Variance

         A Guidelines sentence is also supported by “the history and characteristics of the

  defendant.” 18 U.S.C. § 3553(a)(1). The PSR reflects that the Defendant experienced a generally

  stable life, with biological parents who met his basic needs, despite some financial insecurity.

  Although the Defendant developed a drug addiction, he successfully completed residential

  treatment, and therefore had the tools to succeed in a legitimate career. His personal history does

  not mitigate his choice to participate in a health care fraud conspiracy.

         C.      A Term of Imprisonment Within the Adjusted Guideline Range Will Promote
                 Deterrence

         The Defendant credibly identifies several considerations to indicate that he is at a low risk

  of recidivism and does not need specific deterrence. However, even if this Court could be sure that

  the Defendant will not resume his criminal activities, a sentence within the advisory Guidelines

  range is needed “to afford adequate deterrence to criminal conduct” by other potential offenders.

  18 U.S.C. § 3553(a)(2)(B). As the Seventh Circuit has observed, there is a particular general

  deterrence consideration for white collar criminals. See United States v. Brown, 880 F.3d 399, 405

  (7th Cir. 2018) (“We previously have endorsed the idea that white-collar criminals act rationally,

  calculating and comparing the risks and the rewards before deciding whether to engage in criminal

  activity. They are, therefore, prime candidates for general deterrence.”) (citations and internal

  quotations marks omitted); see also United States v. Musgrave, 761 F.3d 602, 609 (6th Cir. 2014)

  (“Because economic and fraud-based crimes are more rational, cool, and calculated than sudden

  crimes of passion or opportunity, these crimes are prime candidates for general deterrence.”)

  (citations and internal quotation marks omitted).




                                                    3
Case 9:24-cr-80038-AMC Document 28 Entered on FLSD Docket 07/28/2024 Page 4 of 5




         A sentence within the Adjusted Guideline Range would send a message to others deciding

  whether to engage in health care fraud conspiracies that their conduct would constitute a serious

  offense with serious consequences.

         D.      Pertinent Policy Statements Disfavor a Downward Variance

         The Patient Protection and Affordable Care Act (“PPACA”) provides evidence of

  congressional intent in the area of health care fraud offenses that supports imposing a sentence

  within the Adjusted Guideline Range. The PPACA specifically provided for increased sentences

  for health care fraud offenses. See Pub. L. No. 111-148, § 10606(a) (2010). The PPACA further

  required the Sentencing Commission to ensure that the Federal Sentencing Guidelines and policy

  statements (1) “reflect the serious harms associated with health care fraud and the need for

  aggressive and appropriate law enforcement action to prevent such fraud,” and (2) “provide

  increased penalties for person convicted of health care fraud offenses in appropriate

  circumstances.” Id. § 10606(a)(3). Varying downward here would undermine that intent. See, e.g.,

  United States v. Saleh, 257 F. App’x 740, 744–45 (5th Cir. 2007) (observing that the district court’s

  sentence below the Guidelines sentence in a fraud case “could be seen as expressing a special,

  lenient sentencing regime for white collar criminals”).

         E.      A Sentence Within the Adjusted Guideline Range Will Avoid Unwarranted
                 Sentencing Disparities

         Finally, imposition of a sentence within the Adjusted Guideline range best serves “the need

  to avoid unwarranted sentence disparities among defendants with similar records who have been

  found guilty of similar conduct.” 18 U.S.C. § 3553(a)(6). In creating the Guidelines, “Congress

  sought uniformity in sentencing by narrowing the wide disparity in sentences imposed by different

  federal courts for similar criminal conduct.” Rita v. United States, 551 U.S. 338, 349 (2007). The

  Guidelines “help to avoid excessive sentencing disparities,” Kimbrough v. United States, 552 U.S.

                                                   4
Case 9:24-cr-80038-AMC Document 28 Entered on FLSD Docket 07/28/2024 Page 5 of 5




  85, 107 (2007), because “avoidance of unwarranted disparities was clearly considered by the

  Sentencing Commission when setting the Guidelines ranges,” Gall v. United States, 552 U.S. 38,

  54 (2007); see United States v. Buncich, 20 F.4th 1167, 1176 (7th Cir. 2021). Sentencing within

  the Guidelines range avoids “creat[ing] a potential disparity in sentence for those convicted of [the

  same crime] in New Jersey, and across the country, based on little, if anything, more than the luck

  of which judge is assigned to a particular case.” Goff, 501 F.3d at 261. 1

                                           CONCLUSION

         A full assessment of the 18 U.S.C. § 3553(a) factors does not warrant a downward variance,

  and the Defendant’s motion should be denied.


  Dated: July 28, 2024                                   Respectfully submitted,

                                                         MARKENZY LAPOINTE
                                                         UNITED STATES ATTORNEY

                                                         GLENN S. LEON
                                                         CHIEF, FRAUD SECTION
                                                         CRIMINAL DIVISION
                                                         U.S. DEPARTMENT OF JUSTICE

                                                 By:     /s/_S. Babu Kaza       _
                                                         S. Babu Kaza
                                                         Trial Attorney
                                                         Florida Special Bar No. A5503027
                                                         United States Department of Justice
                                                         Criminal Division, Fraud Section




  1
    With respect to the information filed by Defendant under seal, see Docket No. 25 at 2-3, 9-10,
  those facts are not ripe for the Court’s consideration.

                                                   5
